        Case 3:19-cv-00466-CRS Document 1-1 Filed 06/27/19 Page 1 of 66 PageID #: 6

                                DAVIS, LINDA VS. ST AT E FARM MUT UAL AUT OMOBILE INSURANCE CO
                                JEFFERSON CIRCUIT COURT
                                Filed on 05/22/2019 as PERSONAL INJURY with HON. CHARLES L.
                                CUNNINGHAM
              19-CI-003158
                                **** NOT AN OFFICIAL COURT RECORD ****

    Case Memo                                                                             19-CI-
                                                                                         003158
     jury fee paid

    Parties                                                                               19-CI-
                                                                                         003158
     DAVIS, LINDA as PLAINT IFF / PET IT IONER
     ST AT E FARM FIRE & CASUALT Y COMPANY as DEFENDANT / RESPONDENT
      Address
       ONE STATE FARM PLAZA
       BLOOMINGTON IL 61710

      Summons
       CIVIL SUMMONS issued on 06/19/2019 by way of RET URNED T O
       AT T ORNEY/PET IT IONER
       ON AMENDED SERVE CSC

     ST AT E FARM MUT UAL AUT OMOBILE INSURANCE CO as DEFENDANT / RESPONDENT
      Memo
       Registered Agent of Service exists.

      Address
       ONE STATE FARM PLAZA
       BLOOMINGTON IL 61710

      Summons
       CIVIL SUMMONS issued on 05/22/2019 served on 05/28/2019 by way of CERT IFIED
       MAIL

     AGUIAR, SAM as AT T ORNEY FOR PLAINT IFF
      Address
       SAM AGUIAR INJURY LAW Y ERS, PLLC
       1201 STORY AVENUE, SUITE 301
       LOUISVILLE KY 40206

     FREEMAN, JEFFREY L as AT T ORNEY FOR PLAINT IFF
      Address
       SAM AGUIAR INJURY LAW Y ERS, PLLC
       1201 STORY AVENUE, SUITE 301
       LOUISVILLE KY 40206

     CORPORAT ION SERVICE COMPANY as REGIST ERED AGENT OF SERVICE
      Memo
       Related party is STATE FARM MUTUALAUTOMOBILE INSURANCE CO
      Address
       421 W EST MAIN STREET
       FRANKFORT KY 40601
6/26/2019                                      65730-14                                            1
       Case 3:19-cv-00466-CRS Document 1-1 Filed 06/27/19 Page 2 of 66 PageID #: 7


    Documents                                                                         19-CI-
                                                                                     003158
     COMPLAINT / PET IT ION filed on 05/22/2019
     EXHIBIT filed on 05/22/2019
     EXHIBIT filed on 05/22/2019
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     NOT ICE - OT HER filed on 05/22/2019

    Images                                                                            19-CI-
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     EXHIBIT filed on 05/22/2019   Page(s): 2
     EXHIBIT filed on 05/22/2019   Page(s): 2
     EXHIBIT filed on 05/22/2019   Page(s): 1
     SUMMONS filed on 05/22/2019     Page(s): 1
     INT ERROGAT ORIES & REQUEST FOR PRODUCT ION OF DOCUMENT S filed on 05/22/2019
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     NOT ICE - OT HER filed on 05/22/2019   Page(s): 2
     COURT ESY FINANCIAL T RANSACT ION REPORT filed on 05/22/2019    Page(s): 1

     AMENDED COMPLAINT filed on 06/16/2019         Page(s): 34

                            **** End of Case Number : 19-CI-003158 ****




6/26/2019                                         65730-14                                     2
Filed    Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 05/22/2019           06/27/19
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        CASE NO.                                                       JEFFERSON CIRCUIT COURT
                                                                           DIVISION
                                                                      JUDGE

                                       ELECTRONICALLY FILED

        LINDA DAVIS                                                                        PLAINTIFF

        v.                                       COMPLAINT

        STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
        One State Farm Plaza
        Bloomington, IL 61710

               Serve: Corporation Service Company
                      421 West Main Street
                      Frankfort, KY 40601                                               DEFENDANT

                                            *** *** *** *** *** ***

               Comes the Plaintiff, Linda Davis, by counsel and for her cause of action herein,




                                                                                                           Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
        states as follows:

                                             INTRODUCTION

               1.     Linda Davis was badly injured in a motor vehicle wreck caused by an

        underinsured tortfeasor on September 12, 2014.           Her medical bills alone were over

        $357,000. State Farm, as the insurer for both the tortfeasor (BI coverage) and Linda (UIM

        coverage) claimed to pay out all of the available settlement proceeds to Linda for the

        wreck, an amount which was less than half of Linda’s medical bills alone. Now nearly five

        years after this terrible wreck, the company admits that it withheld the existence of

        hundreds of thousands of dollars of more insurance to which Linda was entitled and which

        she greatly needed. State Farm’s actions, which are described further herein, are part of
                                                                                                           COM : 000001 of 000010




        a pattern and practice of fraudulently misrepresenting and withholding the existence of




Filed                19-CI-003158   05/22/2019            David L. Nicholson, Jefferson Circuit Clerk
Filed    Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 05/22/2019           06/27/19
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                                                                      Jefferson  PageID
                                                                                ORIGINAL   #: 9DOCUMENT
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                                                                                    65730-14

        insurance benefits to customers like Linda Davis which the company was contractually

        bound to disclose and pay.

               2.        This is an action against State Farm for breach of contract, violations of

        consumer protection laws, breach of contract, unfair claims and settlement practices, bad

        faith, fraudulent misrepresentation and all other relief to which the Plaintiff is entitled.

                                                   PARTIES

               3.     State Farm Mutual Automobile Insurance Company is an Illinois domiciled

        corporation authorized to do business in the Commonwealth of Kentucky. The statutory

        home office for each is located at One State Farm Plaza, Bloomington, Illinois. The

        registered agent for process for each is Corporation Service Company, whose address is

        421 West Main Street, Frankfort, KY 40601.




                                                                                                             Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
               4.     Plaintiff Linda Davis is, and was at all time herein referred to, a resident of

        Jefferson County, Louisville, Kentucky.

                                                    FACTS

               5.     On September 12, 2014 Linda was badly injured in an auto accident.

               6.     The tortfeasor was insured by State Farm.

               7.     The tortfeasor was underinsured.

               8.     State Farm recognized that the tortfeasor was underinsured and offered the

        policy limits for the bodily injury liability coverage insuring the tortfeasor.

               9.     At the time of the accident, Linda qualified as an insured for coverages under

        her own household State Farm auto policies for PIP benefits, added PIP benefits and UIM
                                                                                                             COM : 000002 of 000010




        coverage.




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Filed                 19-CI-003158    05/22/2019            David L. Nicholson, Jefferson Circuit Clerk
Filed       Case 3:19-cv-00466-CRS   Document 1-1 Filed
                       19-CI-003158 05/22/2019          06/27/19
                                                     David          PageJefferson
                                                           L. Nicholson,  5 of
                                                                            NOT66 Circuit
                                                                                  PageID
                                                                                  ORIGINAL  #: 10
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                                                                                            65730-14

                  10.   At the time of the accident, Linda may have also qualified as an insured

        under a household State Farm umbrella policy. 1

                  11.   Counsel for Linda reported to State Farm that Linda would be making a UIM

        claim and requested information on any applicable UIM coverage available to Linda under

        State Farm policies.

                  12.   State Farm responded by assigning a UIM claims adjuster, opening a UIM

        file under a UIM claim number and providing to counsel a “Confirmation of Coverage”

        which identified ONLY the policy for the automobile Linda was driving at the time of her

        injury.

                  13.   Specifically, on July 20, 2015, a letter was sent from State Farm stating that

        a “Confirmation of Coverage” was being provided “for the policy that was in force on behalf




                                                                                                                         Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
        of Michael D Davis”. See Exhibit A.

                  14.   State Farm failed to identify that, at the time of Linda’s injury and at the time

        of the July 20, 2015 letter, Linda was also covered under one or more household auto

        policies which maintained stackable and/or umbrella UIM coverage.

                  15.   In fact, State Farm has still failed to disclose to Linda and her counsel the

        specifics regarding the policies in the home, the coverages of each and the extent to which

        each applied to the accident.

                  16.   On or about July 5, 2016, State Farm tendered the $50,000 policy limits on

        the tortfeasor’s policy to Linda for compensation for her injuries.                                              COM : 000003 of 000010




        1It is unclear at the time of this filing whether the umbrella coverage carried benefits which would have been
        applicable to the subject accident

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Filed                   19-CI-003158     05/22/2019               David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS   Document 1-1 Filed
                   19-CI-003158 05/22/2019          06/27/19
                                                 David          PageJefferson
                                                       L. Nicholson,  6 of
                                                                        NOT66 Circuit
                                                                              PageID
                                                                              ORIGINAL  #: 11
                                                                                      Clerk DOCUMENT
                                                                                  06/26/2019 11:20:48 AM
                                                                                  65730-14

               17.    On July 11, 2016, Counsel for Linda sent notice to State Farm pursuant to

        KRS 304.39-320 of the tender and to advise that Linda would be pursuing her UIM claim.

        See Exhibit B.

               18.    On August 1, 2016, State Farm extended an offer of $100,000 for the

        settlement of Ms. Davis’ injury claim, falsely claiming that “the offer represents the limits

        of her Underinsured Motorist Coverage.” See Exhibit C.

               19.    Linda and her counsel relied upon this letter and the multiple written

        assertions from State Farm that $100,000 represented the full amount of Linda’s UIM

        coverages with State Farm.

               20.    Only recently has it become evidence that, contrary to State Farm’s

        assertions, this was not the limit of Linda’s UIM coverage.




                                                                                                           Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
               21.    State Farm’s assertions were false, misleading and either grossly negligent

        or willfully designed to deprive Linda of available coverage.

               22.    Linda had over $357,000 in medical bills alone associated with her injuries;

        the total of $150,000 she received from State Farm through the total of liability and UIM

        payments does not begin to compensate her for her losses.

               23.    Linda and her counsel became aware of State Farm’s concealment of

        coverage when her counsel received a letter dated May 9, 2019 stating:

               We have recently undertaken a review of the above-referenced claim that
               was submitted for Underinsured Motorist benefits. As a result of that review,
               we have identified coverage that may be available to Linda Davis for this
               claim under one or more additional policies of insurance with State Farm.
               Consequently, we have reopened the claim in order to determine whether
                                                                                                           COM : 000004 of 000010




               Linda Davis is in fact eligible for additional coverage, and if so to give Linda
               Davis the opportunity, if Linda Davis sustained damages in excess of the
               amounts State Farm previously paid to Linda Davis for this claim, to submit
               that additional information to State Farm for further consideration.



                                                      4
Filed                19-CI-003158   05/22/2019            David L. Nicholson, Jefferson Circuit Clerk
Filed       Case 3:19-cv-00466-CRS   Document 1-1 Filed
                       19-CI-003158 05/22/2019          06/27/19
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                                                           L. Nicholson,  7 of
                                                                            NOT66 Circuit
                                                                                  PageID
                                                                                  ORIGINAL  #: 12
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                                                                                         06/26/2019 11:20:48 AM
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                 24.     To be clear, this letter from State Farm was not an unsolicited act of good

        faith. Rather, it was in response to directives to the company through litigation and

        regulatory bodies to make right a pattern of similar wrongdoings by the company which

        have been ongoing statewide for many years.

                 25.     State Farm was not acting out of a sense of fair dealing in sending this letter.

        The company’s practices are the focus of investigations looking into a pervasive pattern

        by State Farm of concealing and not revealing UM and UIM coverage to insureds.

                       COUNT I: BREACH OF CONTRACT FOR INSURANCE BENEFITS

                 26.     Plaintiff adopts and incorporates all preceding paragraphs herein into this

        Count.

                 27.     Under its contracts with Linda as a named insured under each of the policies




                                                                                                                    Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
        described, State Farm was obligated to compensate Linda for benefits which were payable

        under the applicable insurance policies.

                 28.     These benefits included, but were not limited to, underinsured motorist

        coverage benefits and added reparation benefits.2

                 29.     State Farm breached its contract with Linda when it failed to disclose and/or

        pay the UIM benefits to which Linda was rightfully entitled under household policies.

                 30.     State Farm is liable to Linda for all damages associated with this breach of

        contract, including but not limited to the value and amount of the withheld benefits, interest

        and attorney fees.                                                                                          COM : 000005 of 000010




        2It is currently unclear whether ARB’s were a part of the withheld insurance coverages. To the extent one
        or more undisclosed household policies included ARB’s, State Farm was contractually bound to pay these
        benefits.

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Filed                    19-CI-003158   05/22/2019             David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS   Document 1-1 Filed
                   19-CI-003158 05/22/2019          06/27/19
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                                                       L. Nicholson,  8 of
                                                                        NOT66 Circuit
                                                                              PageID
                                                                              ORIGINAL  #: 13
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                                                                                  06/26/2019 11:20:48 AM
                                                                                  65730-14

                 31.   State Farm’s failure to pay the contractual benefits to which Linda was

        entitled also give rise to extracontractual remedies as claimed additionally herein.

                       COUNT II: UNFAIR CLAIMS AND SETTLEMENT PRACTICES

                 32.   Plaintiff adopts and incorporates all preceding paragraphs herein into this

        Count.

                 33.   State Farm violated KRS 304.12-230 in several manners, including but not

        limited to:

                       a. Misrepresenting pertinent facts or insurance policy provisions relating to

                          coverage at issue;

                       b. Failing     to   acknowledge    and   act    reasonably     promptly     upon

                          communications with respect to claims arising under insurance policies;




                                                                                                           Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
                       c. Failing to adopt and implement reasonable standards for the prompt

                          investigation of claims arising under insurance policies;

                       d. Refusing to pay claims without conducting a reasonable investigation

                          based upon all available information;

                       e. Not attempting in good faith to effectuate prompt, fair and equitable

                          settlements of claims in which liability has become reasonably clear;

                       f. Compelling insureds to institute litigation to recover amounts due under

                          an insurance policy by offering substantially less than the amounts

                          ultimately recovered in actions brought by such insureds;

                       g. Failing to promptly provide a reasonable explanation of the basis in the
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                          insurance policy in relation to the facts or applicable law for denial of a

                          claim or for the offer of a compromise or settlement.



                                                      6
Filed                  19-CI-003158    05/22/2019         David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS   Document 1-1 Filed
                   19-CI-003158 05/22/2019          06/27/19
                                                 David          PageJefferson
                                                       L. Nicholson,  9 of
                                                                        NOT66 Circuit
                                                                              PageID
                                                                              ORIGINAL  #: 14
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                                                                                   06/26/2019 11:20:48 AM
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                 34.   The Plaintiff is entitled to damages, including but not limited to all those

        applicable under KRS 304.12-230.

                                           COUNT III: BAD FAITH

                 35.   Plaintiff adopts and incorporates all preceding paragraphs herein into this

        Count.

                 36.   In its handling of Plaintiff’s claim, Defendant has violated its common law

        duties of good faith and fair dealing,

                 37.   State Farm knew or should have known of the coverage available to Linda

        and either willfully failed to investigate the coverage or willfully and wantonly concealed it

        for the purpose of increasing its profits through the non-payment of claims.

                 38.   State Farm acted with a wanton and reckless indifference to its obligations




                                                                                                            Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
        under the law and to the Plaintiff’s rights to compensation for her losses through a general

        policy and/or practice of concealing coverage for the purpose of increasing its profits and

        gives instruction and incentives to its adjusters to facilitate implementation of this policy.

                 39.   State Farm lacked a reasonable basis for failing to disclose Linda’s

        coverages to her or her counsel.

                 40.   State Farm’s conduct described herein is outrageous, fraudulent, oppressive

        and demonstrative of a reckless indifference to the rights of others.

                 41.   The Plaintiff is entitled to damages, including but not limited to all those

        applicable under common law bad faith.

              COUNT IV: VIOLATION OF KENTUCKY CONSUMER PROTECTION ACT
                                                                                                            COM : 000007 of 000010




                 42.   Plaintiff adopts and incorporates all preceding paragraphs herein into this

        Count.



                                                       7
Filed                  19-CI-003158   05/22/2019           David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 05/22/2019          06/27/19
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                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 15
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                  43.   The Kentucky Consumer Protection Act protects Kentucky’s citizens from

        unfair, false, misleading or deceptive acts or practices in trade or commerce.

                  44.   State Farm engaged in conduct which was deceptive, false, misleading and

        unfair.

                  45.   State Farm’s consumer protection violations included but were not limited to:

                        a. Deceiving Linda and her counsel as to the amount of insurance

                        b. Misleading Linda and her counsel to believe that all available insurance

                           was paid

                        c. Unfairly acting in a manner to induce Linda to take a settlement which

                           the company knew was not the full amount of coverage

                        d. Falsely advising its own customer that she had only $100,000 in




                                                                                                            Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
                           coverage when in fact she had substantially more.

                  46. The Defendants’ actions are in violation of KRS 367.220 and have caused the

        Plaintiff to suffer damages.

           COUNT V: FRAUDULENT MISREPRESENTATION & BREACH OF CONTRACT

                  47. Plaintiff adopts and incorporates all preceding paragraphs herein into this

        Count.

                  48. The Defendants misrepresented the amount of coverage available to the

        Plaintiff and breached their contract with the Plaintiff.

                  49.   The Defendants knew that their representations were false and also knew

        that the Plaintiff was due benefits under her insurance contracts with them.
                                                                                                            COM : 000008 of 000010




                  50.   The Defendants failed to disclose to Linda that there was indeed additional

        UIM coverage available to her under multiple insurance policies.



                                                       8
Filed                   19-CI-003158   05/22/2019          David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 05/22/2019          06/27/19
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                                                                          of 66Circuit
                                                                                PageID
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                                                                                    65730-14

               51.     The Defendants made the misrepresentations and false statements with

        inducement to be acted upon and the Plaintiff relied upon and acted upon the fraudulent

        misrepresentations.

               52.     The Plaintiff has suffered and will continue to suffer damages as a result of

        Defendants’ fraudulent misrepresentations.

             DAMAGES COMMON TO ALL COUNTS, INCLUDING PUNITIVE DAMAGES

               53.     The Plaintiff is entitled to attorney fees, the costs of pursuing this action,

        prejudgment interest and post-judgment interest.

               54.     The Plaintiff is entitled to punitive damages pursuant to common law, KRS

        304.12-230, KRS 411.184, and KRS 411.186, and all other applicable governing

        authorities.




                                                                                                             Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
               55.     The Plaintiff claims all other damages to which she is lawfully entitled,

        including those identified previously herein for insurance coverage. The claimed damages

        are in excess of the jurisdictional limits of this Court.

               WHEREFORE, Plaintiff, by counsel, demands as follows:

               1.      That the Clerk of this Court issue a Summons to the Defendant.

               2.      Judgment against the Defendant, State Farm Mutual Automobile Insurance

        Company, in an amount that will fairly and reasonably compensate the Plaintiff for the

        damages claimed herein, including but not limited to those for breach of contract, punitive

        damages, attorney fees, costs incurred, prejudgment and post-judgment interest, and all

        other damages to which the Plaintiff is or may be entitled.
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               3.      Trial by jury.




                                                        9
Filed                  19-CI-003158     05/22/2019          David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 05/22/2019          06/27/19
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                                                         L. Nicholson, 12 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 17
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              4.     Any and all just and proper relief to which Plaintiff may appear entitled from

        the Defendant, including the right to amend this Complaint.



                                                 Respectfully submitted,


                                                 SAM AGUIAR INJURY LAWYERS, PLLC


                                                 /s/ Jeffrey L. Freeman
                                                 Sam Aguiar
                                                 Jeffrey L. Freeman
                                                 1201 Story Avenue, Suite 301
                                                 Louisville, Kentucky 40206
                                                 Telephone: (502) 400-6969
                                                 Facsimile: (502) 491-3946
                                                 sam@kylawoffice.com
                                                 jfreeman@kylawoffice.com




                                                                                                         Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
                                                 Counsel for Plaintiff




                                                                                                         COM : 000010 of 000010




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Filed                19-CI-003158   05/22/2019          David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS   Document 1-1 Filed
                    19-CI-003158 05/22/2019         06/27/19
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                                                        L. Nicholson, 13 NOT
                                                                         of 66Circuit
                                                                              PageID
                                                                              ORIGINAL  #: 18
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        Providing Insurance and Financial Services
        Home Office, Bloomington, IL                                                            _ State Farm ·


        July 20, 2015

        O'koon Hintermeister, Pile                                  Centralized Medical Unit
        500 West Jefferson Street                                   P.O. Box 661031
        11 00 Pnc Plaza                                             Dallas TX 75266-1031
        Louisville KY 40202




        RE:      Claim Number:              17-524K-369
                 Date of Loss:              September 12, 2014
                 Our Insured:               Michael D Davis
                 Your Client:               Linda Davis




                                                                                                                        Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
        To Whom It May Concern:

        Enclosed is a Confirmation of Coverage for the policy that was in force on behalf of Michael D
        Davis.

        If you have any questions, please contact us.

        Sincerely,


    ~~  LaTonya Wynne
        Claim Representative
        (877) 236-5890 Ext. 6156923794

        State Farm Mutual Automobile Insurance Company

        Enclosure(s): Cqnfirmation of Coverage

                                                                                                                        EXH : 000001 of 000002




Filed                   19-CI-003158       05/22/2019            David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 05/22/2019          06/27/19
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        ~;State Farmb                                              Confirmation of Coverage

                                                                                                                    17-524K-369
                                                                                                                      Claim Number
    This policy is issued by:

    IZl         State   Farm    Mutual Automobile Insurance Company
    D           State   Farm    County Mutual Insurance Company of Texas
    D           State   Farm    Fire and Casualty Company
    D           State   Farm    Lloyds
    D           State   Farm    Indemnity Company
    D           State   Farm    Guaranty Insurance Company
    D           State   Farm    Florida Insurance Company
    D           (Write in the name of the appropriate State Farm® affiliate)



    This confirms that policy number 676958417G, covering a(n) 1998 Cadillac DEVILLE,
    1G6KE54Y9WU766353, was issued to Linda Davis and Michael D Davis and was in effect on the
    accident date of September 12, 2014. The coverages and limits of liability for this policy on that date
    were:

    A 250/500/100,D100,G250,H,U 100/300,W 100/300,P304




                                                                                                                                     Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
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Filed    Case 3:19-cv-00466-CRS   Document 1-1 Filed
                     19-CI-003158 05/22/2019         06/27/19
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                                                         L. Nicholson, 15 NOT
                                                                          of 66Circuit
                                                                               PageID
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                                 ATTORNEYS AT LAW                                                       Jeffrey l. Freeman
                                                                                                        jfreeman@okoonlaw .com




        July 11,2016


        Monique Bigley
        State Farm Claims
        PO Box I 061 71
        Atlanta, GA 30348-6171

        VJA CERTIFIED MAIL AND FACIMILE: 855-820-6318

        Re:         Your Insured:             Michael Davis
                    Our C lient:              Linda Davis
                    Claim No.:                17-524K-369
                    Date of Accident:         September 12, 20 14


        Dear Ms. Bigley:




                                                                                                                                     Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
        As you know, this office represents Linda Davis in matters relating to injuries she received in the
        above referenced accident. I have enclosed a copy of a letter from State Farm Insurance, tendering
        the policy limits of its client and insured, Paul Lahue, in settlement of the claims of Ms. Davis.
        My client has agreed to accept thi s offer. As such, in satisfaction ofKRS 304.39-320 and Kentucky
        case law (e.g. Coots v. Allstate), this letter follows via certified mail.

        This letter is to advise that my client's injuries exceed the $50,000.00 offered under Mr. Lahue 's
        liability policy. We are therefore making a demand under Ms. Davis' underinsurance coverage
        with State Farm Insurance. Please advise within thirty (30) days of your receipt of this letter,
        whether you will waive your subrogation interest against the tortfeasor or if you will tender the
        $50,000.00 offered by State Farm Insurance, and retain your subrogation interest.

        Sincerely,



        Jeffrey L. Freeman


        JLF/acs
                                                                                                                                     EXH : 000001 of 000002




        Enclosure




                                                                                                       INDIANAPOLIS I LOUISVILLE
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   500 W. Jefferson St.   I 2210 PNC Plaza I Louisville, KY 40202 I Tel: 502.581.1630 I Fax: 502.581.1821     OKOONLAW.COM
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         Providing Insurance and Financial Services
         Home Office, Bloomington, /L                                                   A State Farm      f)




        July 05, 2016


         O'koon Hintermeister, Pile                             State Farm Claims
         500 West Jefferson Street                              PO Box 106171
         2210 Pnc Plaza                                         Atlanta GA 30348-6171
         Louisville KY 40202




        RE:      Claim Number:          14-4Z59-171
                 Date of Loss:          September 12, 2014
                 Our Insured:           Paul Lahue
                 Your Client:           Linda C Davis

        Dear Mr. Freeman :




                                                                                                                   Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
        This will confirm our settlement offer in the amount of $50,000, which represents the Liability
        limits of the State Farm policy on July 5, 2016.

        Please discuss this offer w ith your client and contact us at your convenience so we may bring
        this claim to a conclusion.

        Thank you for your assistance.

        Sincerely,



        Eileen Aguilar
        Claim Specialist
        (480) 842-3928
        Fax: (855) 820-6318

        State Farm Mutual Automobile Insurance Company


                                                                                                                   EXH : 000002 of 000002




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        Providing Insurance and Financial Services
        Home Office, Bloomington, IL                                                     A State Farm~

    August 01 , 2016


        O'koon Hintermeister, PLLC                               State Farm Claims
        500 West Jefferson Street                                PO Box 106171
        11 00 Pnc Plaza                                          Atlanta GA 30348-6171
        Louisville KY 40202




    RE:        Claim Number:                    17-524K-369
               Date of Loss:                    September 12, 2014
               Our Insured:                     Linda Davis
               Your Client(s):                  Linda Davis


    Dear Mr. Jeffrey L. Freeman:




                                                                                                                    Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
    As we discussed, State Farm has extended an offer of $100,000 for the settlement of Ms. Davis'
    injury claim. The offer represents the limits of her Underinsured Motorist Coverage.

    Please advise if there are any government liens that need to be protected for her settlement.
    Once we verify whether there are any applicable liens, we will issue the settlement draft(s)
    accordingly.

    I look forward to hearing from you in the near future .

    Sincerely,



    Eileen Aguilar
    Claim Specialist
    (480) 842-3928
    Fax: (855) 820-6318

    State Farm Mutual Automobile Insurance Company                                                                  EXH : 000001 of 000001




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 Court of Justice Courts.ky.gov                                                         County: JEFFERSON Circuit
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, DAVIS, LINDA VS. STATE FARM MUTUAL AUTOMOBILE INSURANCE CO, Defendant


   TO: CORPORATION SERVICE COMPANY
       421 WEST MAIN STREET
       FRANKFORT, KY 40601
Memo: Related party is STATE FARM MUTUAL AUTOMOBILE INSURANCE CO

The Commonwealth of Kentucky to Defendant:
STATE FARM MUTUAL AUTOMOBILE INSURANCE CO

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the




                                                                                                                                   Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
document delivered to you with this Summons.




                                                         Jefferson Circuit Clerk
                                                         Date: 5/22/2019




                                                 Proof of Service
   This Summons was:

 Served by delivering a true copy and the Complaint (or other initiating document)
     To:

 Not Served because:
                                                                                                                                   CI : 000001 of 000001




   Date:                          , 20
                                                                                             Served By


                                                                                                  Title

Summons ID: @00000910569
CIRCUIT: 19-CI-003158 Certified Mail
DAVIS, LINDA VS. STATE FARM MUTUAL AUTOMOBILE INSURANCE CO

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        CASE NO.                                                       JEFFERSON CIRCUIT COURT
                                                                           DIVISION
                                                                      JUDGE

                                        ELECTRONICALLY FILED

        LINDA DAVIS                                                                        PLAINTIFF

        v.         PLAINTIFF’S NOTICE OF ELECTION OF ELECTRONIC SERVICE

        STATE FARM MUTUAL AUTOMOBILE
        INSURANCE COMPANY                                                                DEFENDANT

                                            *** *** *** *** *** ***

               Comes the Plaintiff, by counsel, pursuant to CR 5.02(2), and hereby gives notice

        that counsel for Plaintiff elect to effectuate and receive service of documents via electronic

        means. The undersigned counsel agrees to accept electronic service at the following




                                                                                                           Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
        addresses:

               sam@kylawoffice.com
               jfreeman@kylawoffice.com
               pleadings@kylawoffice.com

               Pursuant to CR 5.02(2), all Parties are requested to promptly provide counsel for

        Plaintiffs with an electronic address at which they may be served with documents via

        electronic means.

                                                  Respectfully submitted,

                                                  SAM AGUIAR INJURY LAWYERS, PLLC

                                                  /s/ Jeffrey L. Freeman
                                                  Sam Aguiar
                                                  Jeffrey L. Freeman
                                                  1201 Story Avenue, Suite 301
                                                                                                           NO : 000001 of 000002




                                                  Louisville, Kentucky 40206
                                                  Telephone: (502) 400-6969
                                                  Facsimile: (502) 491-3946
                                                  sam@kylawoffice.com
                                                  jfreeman@kylawoffice.com
                                                  Counsel for Plaintiff


Filed                19-CI-003158   05/22/2019            David L. Nicholson, Jefferson Circuit Clerk
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                                        CERTIFICATE OF SERVICE

              I hereby certify that a copy of the foregoing Plaintiff’s Notice of Election of Electronic
        Service was electronically filed with the Complaint and Summons in this action and a
        request made of the Circuit Clerk that the Notice be served with the Complaint and
        Summons upon the following:

        STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
        One State Farm Plaza
        Bloomington, IL 61710

               Serve: Corporation Service Company
                      421 West Main Street
                      Frankfort, KY 40601


                                                   /s/ Jeffrey L. Freeman
                                                   Counsel for Plaintiff




                                                                                                            Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
                                                                                                            NO : 000002 of 000002




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Filed                 19-CI-003158   05/22/2019            David L. Nicholson, Jefferson Circuit Clerk
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        CASE NO.                                                       JEFFERSON CIRCUIT COURT
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                                                                      JUDGE

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        LINDA DAVIS                                                                        PLAINTIFF

        v.          PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION
               OF DOCUMENTS PROPOUNDED TO DEFENDANT STATE FARM MUTUAL
                             AUTOMOBILE INSURANCE COMPANY

        STATE FARM MUTUAL AUTOMOBILE
        INSURANCE COMPANY                                                                DEFENDANT

                                            *** *** *** *** *** ***

               Pursuant to Rules 26 and 34 of the Kentucky Rules of Civil Procedure, Plaintiff, by

        and through counsel, hereby requests that Defendant State Farm Mutual Insurance




                                                                                                            Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
        Company answer the following Requests for Production of Documents according to CR

        34.02(2) and serve them upon Plaintiff’s counsel within forty-five (45) days of the date of

        service.

               These Requests for Production shall be deemed continuing. Knowledge of the

        attorneys for the Defendant or the claims agent or any other agent of the Defendant, or

        of any employee of the Defendant, shall be deemed to be the knowledge of the

        Defendant.

                                                 DEFINITIONS

               1.     As used herein, “document” means anything on or which any information is

        fixed and can be perceived, reproduced or otherwise communicated, with or without the
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        aid of any machine or device, and regardless of the medium of expression in which the

        information is fixed (e.g., print, video, audio or other medium of expression).




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               2.     As used herein, “You,” or “Your” means State Farm Mutual Insurance

        Company (hereinafter “State Farm”), its agents, employees, representatives and, unless

        the individual request indicates otherwise, your attorneys.

               3.     As used herein, “produce” means to mail copies of all requested documents

        to any one of Plaintiff’s counsel of record herein at their expense, and to make the original

        of such documents available for inspection or to provide a digital copy of said documents.

                                              INSTRUCTIONS

               1.     These Requests for Production of Documents shall be deemed continuing

        and supplemental answers and production shall be required of you if you or your counsel

        directly or indirectly obtain further information of the nature sought herein after the time

        the responses are served and the documents are produced.




                                                                                                           Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
               2.     In complying with requests, you should produce each document in its

        original form without any mark, alteration or additional writing as the documents appear

        as maintained in the ordinary course of the Defendant’s business, except for Bates

        stamping which may be placed on the bottom of each page. All documents should be

        produced in the same order in which they are kept in the ordinary course of business.

               3.     In the event any document covered by these requests is withheld in whole

        or in part, produce a privilege log specifying at a minimum the date of the document, the

        author(s), the recipient(s), the type of document (letter, memo, e-mail, etc.), a summary

        description of the contents of the document, the claim of privilege or protection upon which

        it is withheld, and your complete factual basis for that claim.
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               4.     In the event any document is redacted, altered or modified, in whole or in

        part, please ensure that the fact of redaction is plainly stated at the place where it is made,



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Filed                 19-CI-003158   05/22/2019           David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
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                                                                                  65730-14

        and produce a privilege log as described above with respect to the redacted material.

        The failure to provide the privilege log, or to plainly reflect any redaction, will be claimed

        as a waiver of any assertion of any claimed privilege or protection from discovery.

                          REQUESTS FOR PRODUCTION OF DOCUMENTS

               Defendant shall produce for inspection and copying, pursuant to Rule 34 of the

        Kentucky Rules of Civil Procedure, the documents designated herein which are within the

        possession, custody or control of Defendant at the office of counsel for Plaintiff, Sam

        Aguiar Injury Lawyers, PLLC, Sam Aguiar, 1201 Story Avenue, Suite 301, Louisville, KY

        40206, within 45 days of service, or by mailing a copy of same to Plaintiff at this address.

        Should you currently have uncertified copies of any of the information requested

        below and need to request certified copies, produce the complete, uncertified




                                                                                                           Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
        copies now and supplement certified copies upon receipt of the same.



               REQUEST NO. 1: Produce all applications by the Plaintiff and/or any other

        member of his household for insurance with State Farm. This includes, but is not limited

        to, all executed applications, unexecuted applications, submitted applications, approved

        applications and rejected applications.

        RESPONSE:



               REQUEST NO. 2: Produce the entire underwriting files referring or relating in

        any way to, along with all underwriting correspondence and communications, all policies
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        of the Plaintiff and those within his household which were active at any time from the two

        years leading up to the crash of September 12, 2014 to present. This also includes the



                                                      3
Filed                 19-CI-003158   05/22/2019           David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 05/22/2019          06/27/19
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                                                                                  65730-14

        file folders in which the underwriting documents are kept and drafts of all documents in

        the file.

        RESPONSE:



                REQUEST NO. 3: The electronic communications records, including but not

        limited to, the electronic and paper notes made by Defendant’s claims personnel,

        contractors, and third-party adjusters/adjusting firms relating to the Plaintiff’s claims.

        RESPONSE:



                REQUEST NO. 4: Your written procedures or policies (including document(s)

        maintained in electronic form) which were active and pertained to the identification of all




                                                                                                           Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
        coverages available to an insured, policyholder or claimant for a claim. Also include all

        documentation relating to the adherence or non-adherence to these procedures and

        policies by State Farm employees, agents and/or other personnel on the Plaintiff’s claim.

        RESPONSE:



                REQUEST NO. 5: The emails, instant messages and internal correspondence

        pertaining to Plaintiff’s underlying claim.

        RESPONSE:



                REQUEST NO. 6: All communications directed to or from anyone associated
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        with State Farm agent Riley Insurance Agency, Inc. relating to the Plaintiff’s underlying




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Filed                 19-CI-003158   05/22/2019           David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
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        claim, the Plaintiff’s insurance policies, and those within State Farm underwriting in

        relation to the Plaintiff’s insurance coverage and applications.

        RESPONSE:



               REQUEST NO. 7: Certified copies of all policies issued by State Farm to the

        Plaintiff and/or a member of his household at any time, to specifically include the following:

               a. The policies;

               b. All renewals of all policies;

               c. All applications for all insurance coverage;

               d. All amendments to all policies;

               e. All endorsement to all policies; and




                                                                                                            Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
               f. All cancellations of all policies;

        RESPONSE:



               REQUEST NO. 8: The Plaintiff’s file from the office of their insurance agent.

        RESPONSE:



               REQUEST NO. 9: The documents, manuals, and training materials, including

        audio and/or video tapes used in training, overseeing, or supervising each of your

        personnel who handled the Plaintiff’s claims in any manner.

        RESPONSE:
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Filed                 19-CI-003158   05/22/2019            David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 05/22/2019          06/27/19
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               REQUEST NO. 10: The entire personnel file of each your personnel who handled

        the Plaintiff’s claims in any manner.

        RESPONSE:



               REQUEST NO. 11: The Scorecard bonus and criteria which were in place at any

        time between the inception of the first policy issued to the Plaintiff until present.

        RESPONSE:



               REQUEST NO. 12: All records of billing to the Plaintiff for policy premiums and

        collection of payment.

        RESPONSE:




                                                                                                           Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
               REQUEST NO. 13: All incentive and performance-based compensation criteria

        which were in place at any time between the inception of the first policy issued to the

        Plaintiff until present for each of your personnel who handled the Plaintiff’s claims in any

        manner.

        RESPONSE:



               REQUEST NO. 14: The bonus or incentive plan for adjusters in effect for the time

        periods between 2013 until present.

        RESPONSE:
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Filed                 19-CI-003158   05/22/2019           David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 05/22/2019          06/27/19
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               REQUEST NO. 15: The State Farm auto claims handling manual (ACM) for 2014-

        present.

        RESPONSE:



               REQUEST NO. 16: All documentation setting forth the manners, policies and

        procedures to be utilized by your personnel in identifying and disclosing to your insureds,

        claimants and policyholders all first party coverages available to them for claims.

        RESPONSE:



               REQUEST NO. 17: All Process Guides and other procedures manuals which

        guide your personnel in issuing and servicing your policyholders' files.




                                                                                                         Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
        RESPONSE:



               REQUEST NO. 18: All documentation confirming that you train and require your

        claims’ handlers to disclose all information regarding coverage to your policy holders

        when so requested.

        RESPONSE:



               REQUEST NO. 19: All documentation confirming that you train and require your

        claims handlers to look for all insurance coverage available to an insured and disclose it

        to the insured or the insured’s counsel upon request.
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        RESPONSE:




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Filed                19-CI-003158   05/22/2019          David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 05/22/2019          06/27/19
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               REQUEST NO. 20: All documentation confirming that you do not permit your

        claims handlers to withhold disclosure of first party coverage to an insured for a loss.

        RESPONSE:



               REQUEST NO. 21: All underwriting materials involved in the process of

        considering and approving the Plaintiff’s applications for insurance, communicating with

        the Plaintiff’s agents and brokers, and determining the Plaintiff’s premium rates.

        RESPONSE:



               REQUEST NO. 22: All underwriting materials containing State Farm’s positions

        on coverages available (or unavailable) to the Plaintiff, the Plaintiff’s claims and the




                                                                                                            Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
        Plaintiff’s policies, along with all other household policies.

        RESPONSE:



               REQUEST NO. 23: All documents, manuals, and training materials, including

        audio and/or video tapes used in training, overseeing, or supervising your personnel

        employed in adjusting claims in Kentucky and in effect from September 2014 to present.

        RESPONSE:



               REQUEST NO. 24: All documentation reflecting how you interpreted and applied

        all of the Plaintiff’s insurance policies, as well as all other household policies, to the
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        Plaintiff’s claims for first party coverage.

        RESPONSE:



                                                       8
Filed                 19-CI-003158    05/22/2019           David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 05/22/2019          06/27/19
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               REQUEST NO. 25: All documents and material pertaining to the evaluation of the

        Plaintiff’s claims.

        RESPONSE:



               REQUEST NO. 26: All documentation confirming that you have, at any time since

        April of 2018, investigated whether or not first party Kentucky claims were improperly

        denied on the basis of the failure to disclose first party coverage when there was indeed

        applicable household coverage which should have been afforded to the claimant. Also

        produce documentation reflecting the results of the investigation and the notice given by

        you to the claimant of available coverage in circumstances where you learned that

        coverage should have been afforded to the claimant.




                                                                                                           Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
        RESPONSE:



               REQUEST NO. 27: Produce the written job descriptions for your agents, claims

        adjusters, claims personnel, underwriting department personnel and any other job roles

        which, as part of the position, include the responsibility to verify and/or disclose coverages

        available to a claimant for a loss.

        RESPONSE:



               REQUEST NO. 28: Produce all audit programs in place by you which in part serve

        to identify and/or correct situations where an insured is not being advised of all first party
                                                                                                           IRPD : 000009 of 000012




        coverages available to him/her for a loss.

        RESPONSE:



                                                      9
Filed                 19-CI-003158   05/22/2019           David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 05/22/2019          06/27/19
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              REQUEST NO. 29: Any and all copies of documents that reference bonus or

        award programs for which the personnel handling, reviewing Plaintiff’s claims or

        supervising those personnel who handled or reviewed Plaintiff’s claims, are or have been

        eligible in the past, from January 1, 2014 to the present. This would include the claims

        handlers, supervisors, managers, or any other individuals in the chain of command up to

        the head of the claims department.

        RESPONSE:



              REQUEST NO. 30: All documents related to efforts to increase profitability with

        respect to handling of property and casualty claims since January 1, 2014.

        RESPONSE:




                                                                                                         Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
              REQUEST NO. 31: Copies of all personnel files of Defendant’s employees who

        handled, reviewed, supervised and/or audited the Plaintiff’s claims, including persons in

        the chain of command above these individuals up to the head of the claims department.

        In order to protect the privacy of the affected employees, Plaintiff agrees that none of

        these documents shall be used for any purpose outside this lawsuit or disseminated in

        any way or made available to the public without redacting the names and other identifying

        information pertaining to the employees.

        RESPONSE:                                                                                        IRPD : 000010 of 000012




              REQUEST NO. 32: Any and all copies of documents referring to goals, targets, or

        objectives from January 1, 2014, to present, which are or have been communicated to



                                                   10
Filed                19-CI-003158   05/22/2019          David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 05/22/2019          06/27/19
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                                                         L. Nicholson, 31 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 36
                                                                                       Clerk DOCUMENT
                                                                                 06/26/2019 11:23:19 AM
                                                                                 65730-14

        personnel handling, reviewing Plaintiff’s claims or supervising those personnel who

        handled or reviewed Plaintiff’s claims, are or have been eligible in the past, from January

        1, 2014 to the present. This would include the claims handlers, supervisors, managers,

        or any other individuals in the chain of command up to the head of the claims department.

        RESPONSE:



               REQUEST NO. 33: All established training procedures for State Farm claim

        examiners and formal guidelines for the evaluation and investigation of claims, follow-up

        procedures for open claims, regular reviews, specific guidelines as to when additional

        investigation is necessary, and coverage investigations for first party claims.

        RESPONSE:




                                                                                                          Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
                                                  Respectfully submitted,

                                                  SAM AGUIAR INJURY LAWYERS, PLLC


                                                  /s/ Jeffrey L. Freeman
                                                  Sam Aguiar
                                                  Jeffrey L. Freeman
                                                  1201 Story Avenue, Suite 301
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                                                  Phone: (502) 813-8900
                                                  Fax: (502) 491-3946
                                                  sam@kylawoffice.com
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                                                  Counsel for Plaintiff                                   IRPD : 000011 of 000012




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Filed                19-CI-003158   05/22/2019           David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 05/22/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 32 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 37
                                                                                       Clerk DOCUMENT
                                                                                06/26/2019 11:23:19 AM
                                                                                65730-14

                                      CERTIFICATE OF SERVICE

               I hereby certify that a copy of the foregoing Plaintiff’s First Set of Requests for
        Production of Documents Propounded to Defendant, State Farm Mutual Automobile
        Insurance Company, was electronically filed with the Complaint and Summons in this
        action and a request made of the Circuit Clerk that the Notice be served with the
        Complaint and Summons upon the following:

        STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
        One State Farm Plaza
        Bloomington, IL 61710

              Serve: Corporation Service Company
                     421 West Main Street
                     Frankfort, KY 40601



                                                 /s/ Jeffrey L. Freeman
                                                 Counsel for Plaintiff




                                                                                                         Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)
                                                                                                         IRPD : 000012 of 000012




                                                   12
Filed                19-CI-003158   05/22/2019          David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 33 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 38
                                                                                       Clerk DOCUMENT
                                                                                    06/26/2019 11:24:33 AM
                                                                                    65730-14

        CASE NO. 19-CI-003158                                       JEFFERSON CIRCUIT COURT
                                                                            DIVISION FOUR (4)
                                                                JUDGE CHARLES L. CUNNINGHAM

                                         ELECTRONICALLY FILED

        LINDA DAVIS, Individually and On                                                     PLAINTIFF
        Behalf of All Others Similarly Situated


        v.                             FIRST AMENDED COMPLAINT

        STATE FARM MUTUAL AUTOMOBILE                                                      DEFENDANT
        INSURANCE COMPANY
        One State Farm Plaza
        Bloomington, IL 61710

                       SERVE:         Via Registered Agent
                                      Corporation Service Company
                                      421 West Main Street
                                      Frankfort, KY 40601

        -and-

        STATE FARM FIRE & CASUALTY COMPANY
        One State Farm Plaza
        Bloomington, IL 61710

                       SERVE:         Via Registered Agent
                                      Corporation Service Company
                                      421 West Main Street
                                      Frankfort, KY 40601


                                              *** *** *** *** *** ***

                Plaintiff Linda Davis (hereinafter, “Plaintiff”), individually and on behalf of all other

        persons similarly situated, brings this Complaint against State Farm Mutual Automobile

        Insurance Company and State Farm Fire & Casualty Company (collectively referred to
                                                                                                             AMC : 000001 of 000034




        herein as “Defendant” and “State Farm”) and, by and through her attorneys, alleges as

        follows:




Filed                 19-CI-003158    06/16/2019            David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 34 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 39
                                                                                       Clerk DOCUMENT
                                                                                06/26/2019 11:24:33 AM
                                                                                65730-14

                                            INTRODUCTION

           1. State Farm has recently notified the Plaintiff and many other of its own Kentucky

              insureds who were seriously injured in accidents of the following:

                    a. The insureds were entitled to first party uninsured motorist (UM) or

                        underinsured (UIM) coverage from State Farm for their injuries arising

                        out of their accidents.

                    b. The available UM or UIM coverage was not disclosed to them or their

                        counsel by State Farm.

                    c. State Farm did not previously open claims for the UM or UIM coverage,

                        despite the insureds having the coverage and needing the coverage.

                    d. State Farm was only now, in most cases several years after the fact,

                        opening up the claims and doing the investigations and evaluations which

                        the insureds were lawfully entitled to have done following their accidents.

              2. State Farm’s recent disclosures of available coverages are not unilateral, good

                 faith efforts to correct simple mistakes. Rather, these notifications are the result

                 of a compelled audit due to an exposed pattern and practice of State Farm of

                 withholding the existence of coverage from its own Kentucky insureds and

                 affirmatively advising Kentucky insureds (and their counsel) that coverage did

                 not exist when it clearly did and was clearly needed by the insureds for their

                 losses. State Farm’s notification letters, along with any other recent efforts of

                 exposure mitigation and remediation, do not undermine the egregious nature of
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                 their pattern and practice, which likely has still left several insureds uninformed

                 that their insurer did not pay them or even tell them about tens or hundreds of



                                                    2
Filed               19-CI-003158   06/16/2019           David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 35 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 40
                                                                                       Clerk DOCUMENT
                                                                                   06/26/2019 11:24:33 AM
                                                                                   65730-14

                 thousands of dollars of coverage which existed, which they needed and to which

                 they were entitled.

              3. This is an action against State Farm for these violations of consumer protection

                 laws, unfair claims and settlement practices, bad faith, fraud, breach of fiduciary

                 duties and all other relief to which the Plaintiff, individually and on behalf of all

                 others similarly situated, is entitled.

                                                 PARTIES

              4. State Farm Mutual Automobile Insurance Company is an Illinois domiciled

                 corporation authorized to do business in the Commonwealth of Kentucky. Their

                 statutory home office is located at One State Farm Plaza, Bloomington, Illinois.

                 The company is and at all relevant times was, an insurer engaged in the

                 business of insurance, authorized to do business in Kentucky and in Jefferson

                 County, and actually doing business in Kentucky and Jefferson County. State

                 Farm Mutual is also the parent company for multiple wholly owned subsidiaries.

                 For purposes of this action, the only subsidiary which would appear to carry

                 exposure herein is Defendant State Farm Fire & Casualty, which issues auto

                 policies to Kentucky insureds, many of which include UM and UIM coverages.

              5. State Farm Fire & Casualty Company is an Illinois domiciled corporation

                 authorized to do business in the Commonwealth of Kentucky. Their statutory

                 home office is located at One State Farm Plaza, Bloomington, Illinois. The

                 company is and at all relevant times was, an insurer engaged in the business of
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                 insurance, authorized to do business in Kentucky and in Jefferson County, and

                 actually doing business in Kentucky and Jefferson County. State Farm Fire &



                                                      3
Filed               19-CI-003158    06/16/2019             David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 36 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 41
                                                                                       Clerk DOCUMENT
                                                                               06/26/2019 11:24:33 AM
                                                                               65730-14

                 Casualty Company issues auto insurance policies throughout Kentucky,

                 typically to those who do not qualify for State Farm Mutual products.

              6. Linda Davis is, and was at all times herein referred to, a resident of Jefferson

                 County, Louisville, Kentucky. At all times relevant herein, she was a State Farm

                 policyholder and a State Farm insured for purposes of her UIM claims alluded

                 to herein.

                                     JURISDICTION AND VENUE

              7. Substantial acts giving rise to the causes of action asserted herein occurred in

                 Kentucky and within Jefferson County.

              8. The amount in controversy exceeds the minimum threshold of this Court

                                                 FACTS

              9. State Farm is the largest auto insurer in the country and in Kentucky, insuring

                 nearly one out of five cars on the road nationwide and one out of six insured

                 cars on the road in Kentucky.

              10. In Kentucky, State Farm insures each vehicle through a separate auto policy.

                 For example, if a family insures four vehicles with State Farm, each vehicle is

                 assigned to its own insurance policy with its own specific coverages and its own

                 specific declarations pages versus one policy and one declarations pages

                 showing the coverages for the four vehicles.

              11. State Farm’s process of insuring one vehicle per policy is different from vast

                 majority of large insurers in Kentucky. The next seven largest insurers in
                                                                                                        AMC : 000004 of 000034




                 Kentucky by market share are Kentucky Farm Bureau, Progressive, Geico,

                 Liberty Mutual, Allstate, USAA and Nationwide. Every one of these insurers



                                                   4
Filed               19-CI-003158   06/16/2019          David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 37 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 42
                                                                                       Clerk DOCUMENT
                                                                               06/26/2019 11:24:33 AM
                                                                               65730-14

                 assigns all private passenger vehicles insured by a policyholder to the same

                 policy and issues a declarations page showing all the coverages for all the

                 vehicles together in a manner which identifies for the policyholder on one

                 document whether certain coverages exist on any vehicles.

              12. State Farm, in addition to issuing separate policies for each vehicle, also

                 engages in other actions which makes the process of identifying coverages

                 unreasonably confusing and complicated for its Kentucky insureds.

              13. For example, when Kentucky insureds are involved in accident and seek

                 production of all potentially available coverages to them from State Farm for

                 first-party claims, State Farm’s pattern and practice for the past several years

                 was to respond with a “Confirmation of Coverage” letter versus producing the

                 declarations pages for each policy which could potentially afford coverage. The

                 Confirmation of Coverage letter only identifies coverages for one policy, rather

                 than all policies.

              14. By only sending a Confirmation of Coverage letter with coverages for one policy,

                 State Farm in many situations was grossly misleading its insureds as to the type

                 and amounts of certain types coverages potentially available to their insureds

                 for an accident. This is because certain coverages, such as UM, UIM and ARB,

                 afford benefits to the policyholder and qualifying insureds regardless of whether

                 the policies in which they were included insured the vehicle involved in the

                 accident.
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              15. For example, consider a Kentucky State Farm policyholder who owned and

                 insured four vehicles. He would have been issued a separate and unique State



                                                   5
Filed               19-CI-003158      06/16/2019       David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 38 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 43
                                                                                       Clerk DOCUMENT
                                                                                06/26/2019 11:24:33 AM
                                                                                65730-14

                 Farm auto policy for each vehicle. Vehicles A and B were each issued policies

                 with 100,000/300,000 in UM and UIM. Vehicles C and D were issued policies

                 with no UM or UIM. His daughter lived with him and also insured a vehicle with

                 State Farm. Her policy contained $50,000/$100,000 in UM and UIM. The

                 policyholder was involved in an accident in Vehicle C in which he suffered

                 disabling injuries and hundreds of thousands of dollars in medical bills. The

                 accident was caused by an underinsured tortfeasor. State Farm’s pattern and

                 practice for years was to send a Confirmation of Coverage in a situation such

                 as this to the policyholder which only identified the coverages for the policy

                 issued to Vehicle C. State Farm would not include in the letter any information

                 disclosing to the policyholder that the UIM coverages within the policies of

                 Vehicle A, Vehicle B and his daughter were all available to him for the accident.

                 State Farm would not advise the policyholder that State Farm expected him to

                 identify the coverages on his own and request for separate UIM claims to be

                 opened under each policy. The result in this situation would be that State Farm,

                 by misleading the policyholder to believe that he had no UIM coverage when in

                 fact he qualified as an insured for $250,000 in stacking UIM coverages, would

                 close its file and make no payments.

              16. State Farm is required to act as a reasonably prudent auto insurance company

                 when handling claims. This requirement includes, but is not limited to, disclosing

                 all first party coverages available to their policyholders and first-party claimants
                                                                                                         AMC : 000006 of 000034




                 which may afford coverage for damages arising out of an accident.




                                                    6
Filed               19-CI-003158   06/16/2019           David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 39 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 44
                                                                                       Clerk DOCUMENT
                                                                                06/26/2019 11:24:33 AM
                                                                                65730-14

              17. State Farm, by and through its employees and agents, knows or in the exercise

                 of ordinary care should know that it is obligated to fully disclose to its Kentucky

                 insureds all first-party coverages to which they may be entitled under insuring

                 State Farm auto policies following an auto accident.

              18. State Farm, as custodian and issuer of the Kentucky auto policies, is in a

                 position where it should be simple and routine to identify and disclose coverages

                 to insureds.

              19. The identification and disclosure of UM and UIM coverage to Kentucky insureds

                 is not a complicated process for State Farm claims specialists and their

                 supervisors.

              20. State Farm’s claims management software includes a tab which, at the onset of

                 claims, allows the claims specialists and their supervisors to click a tab which

                 identifies household policies which may afford coverage, including but not

                 limited to UM and UIM, to the insured.

              21. State Farm claims specialists and their supervisors have several other tools to

                 identify coverages, including but not limited to State Farm intranet searches,

                 requests for underwriting searches, inquiries to the agent, PM06 searches,

                 policy master record searches, claims history searches and conversations with

                 the insureds or their counsel.

              22. Despite these resources, since at least 2014, State Farm has not advised

                 thousands of their Kentucky insured claimants of the full amount of UM and UIM
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                 coverage that they have available to them for an accident.




                                                    7
Filed               19-CI-003158   06/16/2019           David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 40 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 45
                                                                                       Clerk DOCUMENT
                                                                                      06/26/2019 11:24:33 AM
                                                                                      65730-14

                   23. Many of these Kentucky State Farm insureds were seriously injured and needed

                       the undisclosed UM and/or UIM coverages.

                   24. In several situations where State Farm did not disclose the full amounts of

                       coverage, State Farm insureds had $100,000 or more of undisclosed UM or UIM

                       available to them claims and their damages warranted full payment.

                   25. Linda Davis was one of the Kentucky insureds who was not told by State Farm

                       that there was a policy with $100,000 in available UIM coverage.

                   26. Linda was badly injured in an accident. Her medical bills ultimately exceeded

                       $350,000. The tortfeasor was underinsured. In August of 2016, State Farm

                       extended an offer of $100,000 for the settlement of Ms. Davis’ UIM claim, stating

                       that “the offer represents the limits of her Underinsured Motorist Coverage.”1 In

                       actuality, Linda Davis had $200,000 in UIM coverage with State Farm. State

                       Farm did not disclose the existence of this other $100,000 in UIM coverage to

                       Ms. Davis or her counsel at any time between the onset of her claims through

                       April of 2019.

                   27. In 2018 and 2019, multiple lawsuits were filed against State Farm in Kentucky

                       which alleged non-disclosure of coverages. Additionally, inquiries were made to

                       State Farm from Kentucky state agencies and State Farm underwent a Market

                       Conduct Examination.

                   28. This resulted in State Farm reviewing its prior claims to identify situations where

                       UIM coverage was available to Kentucky insureds, needed by the insured and
                                                                                                               AMC : 000008 of 000034




                       not disclosed.



        1
            See Exhibit A

                                                          8
Filed                       19-CI-003158   06/16/2019         David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 41 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 46
                                                                                       Clerk DOCUMENT
                                                                                            06/26/2019 11:24:33 AM
                                                                                            65730-14

                   29. Beginning in May 2019, State Farm sent multiple letters to Kentucky insureds

                        (or their counsel) stating that:


                            “We have recently undertaken a review of the above-
                            referenced claim that was submitted for Underinsured Motorist
                            benefits. As a result of that review, we have identified coverage
                            that may be available to (INSURED NAMEO) for this claim
                            under one or more additional policies of insurance with State
                            Farm. Consequently, we have reopened the claim in order to
                            determine whether (INSURED NAME) is in fact eligible for
                            additional coverage, and if so to give (INSURED NAME) the
                            opportunity, if (INSURED NAME) sustained damages in
                            excess of the amounts State Farm previously paid to
                            (INSURED NAME) for this claim, to submit that additional
                            information to State Farm for further consideration.2



                   30. Several law offices in Kentucky have received these letters in relation to dozens

                        of State Farm insureds.

                   31. These letters from State Farm are not unsolicited acts of good faith. Rather, they

                        are in response to audits which were the byproduct of exposing litigation and

                        directives to the company through state agencies.

                   32. State Farm did not send letters to all insureds who were not informed of the

                        existence of UM or UIM which was needed.

                   33. The number of instances and insureds damaged by State Farm’s failure to

                        disclose UM and/or UIM in situations where the insured ultimately needed the

                        coverage are of a sufficient number to affirmatively demonstrate State Farm’s

                        patterns and practices.
                                                                                                                     AMC : 000009 of 000034




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            See Exhibit B for three examples of these letters

                                                                9
Filed                       19-CI-003158      06/16/2019            David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 42 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 47
                                                                                       Clerk DOCUMENT
                                                                                  06/26/2019 11:24:33 AM
                                                                                  65730-14

              34. State Farm claims specialists, however, are given incentives to not fully disclose

                 or pay coverages.

              35. The actions of State Farm, by and through its employees and agents, result in

                 the company and employees profiting immensely while depriving their own

                 insureds of tens and hundreds of thousands of dollars in benefits payments to

                 which they are lawfully and contractually entitled.


                                            CLASS ALLEGATIONS

        Class Definition:

                        The Class shall be defined as those who meet the following criteria

                 i.        The individual meets the definition of an insured for UM or
                           UIM coverages under one or more Kentucky State Farm
                           auto policies

                           AND

                 ii.       The individual was injured in a motor vehicle accident

                           AND

                 iii.      State Farm did not fully disclose all UM and/or UIM
                           coverages available to the individual for his or her covered
                           losses

                           AND


                 iv.       The undisclosed UM and/or UIM coverages, had they been
                           disclosed, would have been “payable” for the covered
                           losses                                                                          AMC : 000010 of 000034




                           For purposes of the Class, “payable” is defined by
                           instances where coverage was not disclosed in situations
                           where:

                           a. For UIM coverage:


                                                     10
Filed                   19-CI-003158   06/16/2019         David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 43 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 48
                                                                                       Clerk DOCUMENT
                                                                                 06/26/2019 11:24:33 AM
                                                                                 65730-14

                                i. The underlying bodily injury coverage available
                                   to the individual were exhausted

                                      OR

                                ii. Where underlying bodily injury coverage to the
                                    individual were not exhausted, BUT other UIM
                                    coverage which was disclosed to the individual
                                    were paid and exhausted

                        b. For UM coverage:

                                i. One or more tortfeasors were uninsured AND
                                     1. The primary disclosed UM coverage was
                                         exhausted

                                           OR

                                      2. There was no other available UM
                                         coverage other than that which was not
                                         disclosed

              36. Plaintiff reserves the right to modify or amend the definition of the proposed

                 Class before the Court determines whether certification is appropriate.

              37. Excluded from the Class are:

                    a. Defendant and any entities in which Defendant has a controlling interest;

                    b. Any entities in which Defendant’s officers, directors, or employees are

                        employed and any of the legal representatives, heirs, successors, or

                        assigns of Defendant;

                    c. The Judge to whom this case is assigned, and any member of the

                        Judge’s immediate family and any other judicial officer assigned to this

                        case;
                                                                                                          AMC : 000011 of 000034




                    d. All persons or entities that properly execute and timely file a request for

                        exclusion from the Class;



                                                    11
Filed               19-CI-003158   06/16/2019            David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 44 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 49
                                                                                       Clerk DOCUMENT
                                                                                  06/26/2019 11:24:33 AM
                                                                                  65730-14

                     e. Any attorneys representing the Plaintiff or the Class; and

                     f. All governmental entities.

        Numerosity

              38. The individual Class members are so numerous that joinder of all members is

                 impracticable. The Defendant has already notified a substantial number of

                 Kentucky insureds of coverage which had been withheld. This number of

                 individuals alone would make joinder impracticable.

              39. The individual Class members are ascertainable. State Farm has already begun

                 the process of identifying Class members, as evidenced by the letters to

                 insureds and their counsel. Furthermore, as the Class Definition confirms, the

                 members are readily ascertainable through a cross reference between a

                 household insurance policy search versus: 1). Kentucky UM and UIM claims

                 denied (or refused to be opened) on the basis of no coverage 2) Kentucky UM

                 and UIM settlements for what were reported to be the full policy limits of all

                 available coverages.

              40. Plaintiffs do not anticipate any difficulties in the management of the action as a

                 class action.



        Commonality

              41. The claims made by Plaintiff meet the commonality requirement.

              42. The claims present shared questions of law and fact.
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              43. Resolving these questions will resolve the class-wide litigation.

              44. These shared questions predominate over individual questions.



                                                     12
Filed                19-CI-003158   06/16/2019            David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 45 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 50
                                                                                       Clerk DOCUMENT
                                                                                   06/26/2019 11:24:33 AM
                                                                                   65730-14

              45. They include, without limitation:

                     a. Whether the non-disclosure of coverage(s) amounted to consumer

                        protection violations?

                     b. Whether the non-disclosure of coverage(s) amounted to unfair claims

                        and settlement practices?

                     c. Whether the non-disclosure of coverage(s) amounted to bad faith?

                     d. Whether the non-disclosure of coverage(s) amounted to fraud?

                     e. What is the amount of pre-judgment interest to which the Class is entitled

                        based upon the non-disclosure of coverage?

        Typicality

              46. Plaintiff is a member of the Proposed Class.

              47. Plaintiff’s claims are typical of the claims of the proposed Class because of the

                 similarity, uniformity, and common purpose of the unlawful conduct of

                 Defendant.

              48. Each Class member has sustained and will continue to sustain damages in the

                 same manner as Plaintiff as a result of Defendant’s wrongful conduct. Each

                 Class member had UM or UIM coverage which was undisclosed to him or her

                 and which was needed for the claim.



        Adequacy of Representation

              49. Plaintiff and counsel will fairly and adequately represent and protect the interests
                                                                                                            AMC : 000013 of 000034




                 of the Class.




                                                      13
Filed                19-CI-003158   06/16/2019             David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 46 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 51
                                                                                       Clerk DOCUMENT
                                                                                  06/26/2019 11:24:33 AM
                                                                                  65730-14

              50. There are no disabling conflicts of interest that would be antagonistic to those

                 of the other members of the Class.

              51. Plaintiffs seek no relief that is antagonistic or adverse to the members of the

                 Class.

              52. The infringement of the rights and the damages they Plaintiff has suffered are

                 typical of other Class members.

        Superiority

              53. Class action litigation is an appropriate method for fair and efficient adjudication

                 of the claims involved.

              54. Class action treatment is superior to all other available methods for the fair and

                 efficient adjudication of the controversy alleged herein.

              55. Class action will permit a large number of Class members to prosecute their

                 common claims in a single forum simultaneously, efficiently, and without the

                 unnecessary duplication of evidence, effort, and expense that hundreds of

                 individual actions would require.

              56. The nature of this action and the nature of Kentucky laws available to Plaintiff

                 and the Class make the use of the class action efficient and the appropriate

                 procedure to afford relief to Plaintiff and the Class for the wrongs alleged.

              57. State Farm is the largest auto insurer in the country with a surplus exceeding

                 100 billion dollars. State Farm would be able to exploit and overwhelm the

                 limited resources of each individual Class member with superior financial and
                                                                                                           AMC : 000014 of 000034




                 legal resources if each is forced to individually litigate.




                                                     14
Filed                 19-CI-003158   06/16/2019           David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 47 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 52
                                                                                       Clerk DOCUMENT
                                                                                   06/26/2019 11:24:33 AM
                                                                                   65730-14

              58. Individual actions would create a risk of inconsistent results and would be

                 unnecessary and duplicative of this litigation.

              59. The class action is superior to all other available methods for the fair and

                 efficient adjudication of this controversy. Because of the number and nature of

                 common questions of fact and law, multiple separate lawsuits would not serve

                 the interest of judicial economy.

                                          COUNT I
                                VIOLATIONS OF KRS 304.12-230
                          UNFAIR CLAIMS AND SETTLEMENT PRACTICES

              60. Plaintiff, individually and on behalf of all others similarly situated, repeats,

                 realleges, and incorporates by reference each of the foregoing

                 allegations of this Complaint as if fully set forth herein.

              61. State Farm’s actions and inactions described herein violate the Kentucky

                 Unfair Claims Settlement Practices Act, KRS 304.12-230, et. seq., in

                 several manners, including but not limited to:

                     a. Misrepresenting pertinent facts or insurance policy provisions relating to

                         coverage at issue;

                     b. Failing     to   acknowledge       and   act    reasonably     promptly      upon

                         communications with respect to claims arising under insurance policies;

                     c. Failing to adopt and implement reasonable standards for the prompt

                         investigation of claims arising under insurance policies;

                     d. Refusing to pay claims without conducting a reasonable investigation
                                                                                                            AMC : 000015 of 000034




                         based upon all available information;




                                                      15
Filed                19-CI-003158    06/16/2019            David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 48 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 53
                                                                                       Clerk DOCUMENT
                                                                                  06/26/2019 11:24:33 AM
                                                                                  65730-14

                    e. Failing to affirm or deny coverage of claims within a reasonable time after

                        proof of loss statements have been completed

                    f. Not attempting in good faith to effectuate prompt, fair and equitable

                        settlements of claims in which liability has become reasonably clear;

                    g. Failing to promptly provide a reasonable explanation of the basis in the

                        insurance policy in relation to the facts or applicable law for denial of a

                        claim or for the offer of a compromise or settlement.

              62. Pursuant to KRS 304.12-235, Plaintiff and the Class are entitled to recover a

                 reasonable attorney fee for the aforementioned violation(s).

              63. That as a result of State Farm’s actions and inactions in violation of their

                 obligations under KRS 304.12-230, State Farm has directly, foreseeably, and

                 proximately caused damages to the Plaintiff and the Class.

                                                 COUNT II
                                                BAD FAITH

              64. Plaintiff, individually and on behalf of all others similarly situated, repeats,

                 realleges, and incorporates by reference each of the foregoing allegations of

                 this Complaint as if fully set forth herein.

              65. In its handling of Plaintiff’s and the Class’s claims, State Farm violated its

                 common law duties of good faith and fair dealing.

              66. State Farm knew or should have known of the coverage available to the Plaintiff

                 and the Class and either willfully failed to investigate the coverage or willfully
                                                                                                           AMC : 000016 of 000034




                 and wantonly concealed it for the purpose of increasing its profits through the

                 non-payment of claims.




                                                     16
Filed               19-CI-003158   06/16/2019             David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 49 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 54
                                                                                       Clerk DOCUMENT
                                                                                  06/26/2019 11:24:33 AM
                                                                                  65730-14

              67. State Farm acted with a wanton and reckless indifference to its obligations under

                 the law, under its duties of good faith and fair dealing, under the terms of the

                 insurance policies and to the Plaintiff’s and the Class’s rights to compensation

                 under the policies.

              68. State Farm lacked a reasonable basis for failing to disclose Davis’s and the

                 Class’s UM and/or UIM coverages to them and their respective counsel.

              69. State Farm’s conduct described herein is outrageous, fraudulent, oppressive

                 and demonstrative of a reckless indifference to the rights of the Plaintiff and the

                 Class.

              70. The Plaintiff and the Class are entitled to damages, including but not limited to

                 all those applicable under common law bad faith.

                                       COUNT III
                    VIOLATION OF KENTUCKY CONSUMER PROTECTION ACT

              71. Plaintiff, individually and on behalf of all others similarly situated, repeats,

                 realleges, and incorporates by reference each of the foregoing allegations of

                 this Complaint as if fully set forth herein.

              72. The Kentucky Consumer Protection Act protects Kentucky’s citizens from unfair,

                 false, misleading and deceptive acts or practices in trade or commerce.

              73. The Plaintiff and Class, as insureds under insurance policies which were

                 purchased in Kentucky, are within the scope of those covered by the Consumer

                 Protection Act.
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              74. The Consumer Protection Act has provided a statutory bad faith cause of action

                 for first party claimants such as the Plaintiff and the Class.




                                                     17
Filed               19-CI-003158   06/16/2019             David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 50 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 55
                                                                                       Clerk DOCUMENT
                                                                                 06/26/2019 11:24:33 AM
                                                                                 65730-14

              75. State Farm failed to deliver financial services as specified in insurance policies

                 affording coverage to the Plaintiff and the Class when losses occurred as

                 described in the policies.

              76. State Farm failed to even acknowledge and disclose the existence of these

                 financial benefits to the Plaintiff and the Class for an unreasonable period of

                 time.

              77. State Farm’s actions to the Plaintiff and the Class were false, misleading and

                 deceptive.

              78. State Farm’s actions violated the Kentucky Consumer Protection Act, KRS

                 367.220.

              79. State Farm’s actions of withholding the existence of active, payable and needed

                 coverages to its own insureds were unfair, false, misleading and deceptive.

              80. State Farm’s consumer protection violations included but were not limited to:

                     a. Deceiving the Plaintiff and the Class as to the existence and amounts of

                         insurance;

                     b. Misleading the Plaintiff and the Class to believe that all available

                         insurance was disclosed and all that was owed was paid;

                     c. Unfairly acting in a manner to induce the Plaintiff and the Class to believe

                         that settlements were for “policy limits” when State Farm knew or should

                         have known that the amounts did not actually represent the full amounts

                         of UM and/or UIM coverages available to the Plaintiff and the Class;
                                                                                                          AMC : 000018 of 000034




                     d. Falsely advising the Plaintiff and the Class as to the amounts of UM

                         and/or UIM coverage available to them for their injuries.



                                                    18
Filed               19-CI-003158   06/16/2019            David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 51 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 56
                                                                                       Clerk DOCUMENT
                                                                                  06/26/2019 11:24:33 AM
                                                                                  65730-14

              81. State Farm’s patterns and practices of withholding coverages for the purpose of

                 increasing its profits and bonuses demonstrates fraudulent, misleading,

                 deceptive and damaging conduct to its own insureds, including the Plaintiff and

                 the Class, who expect and are entitled to have State Farm adhere to its promise

                 of “paying what we owe: promptly, efficiently and courteously.”

              82. State Farm’s actions are in violation of KRS 367.220 and have caused the

                 Plaintiff and the Class to suffer damages.

              83. Pursuant to KRS 367.220(3), Plaintiff is entitled to recover a reasonable attorney

                 fee and the costs incurred for the aforementioned violation(s).

                                           COUNT IV:
                                   BREACH OF FIDUCIARY DUTIES

              84. Plaintiff, individually and on behalf of all others similarly situated, repeats,

                 realleges, and incorporates by reference each of the foregoing allegations of

                 this Complaint as if fully set forth herein

              85. State Farm, through its agents and employees, owed fiduciary duties to fairly,

                 accurately and fully represent the terms and conditions of insurance policies to

                 the Plaintiff and the Class.

              86. State Farm, within its fiduciary relationships with the Plaintiff and the Class,

                 owed them duties to treat them with honesty, utter good faith, loyalty, candor,

                 due care and fair dealing.

              87. State Farm, within its fiduciary relationships with the Plaintiff and the Class,
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                 owed them duties to disclose all insurance coverages available to them for a

                 loss and adhere to their reasonable expectations that they would receive all

                 benefits to which they were entitled.


                                                     19
Filed               19-CI-003158   06/16/2019             David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 52 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 57
                                                                                       Clerk DOCUMENT
                                                                                  06/26/2019 11:24:33 AM
                                                                                  65730-14

              88. State Farm, within its fiduciary relationships with the Plaintiff and the Class,

                 owed them duties to accurately and promptly disclose coverages and produce

                 coverage documents when requested.

              89. The Defendant breached their fiduciary duties owed to the Plaintiff and the

                 Class.

              90. Plaintiff and the Class suffered damages as a direct and proximate result.

                                          COUNT V
                                FRAUDULENT MISREPRESENTATION

              91. Plaintiff, individually and on behalf of all others similarly situated, repeats,

                 realleges, and incorporates by reference each of the foregoing allegations of

                 this Complaint as if fully set forth herein

              92. State Farm, by and through its employees and agents, misrepresented the

                 amount of UM and/or UIM coverage available to the Plaintiff and the Class.

              93. State Farm knew that the representations were false and also knew that the

                 Plaintiff and the Class were due UM and/or UIM benefits under State Farm

                 policies.

              94. State Farm made the misrepresentations of material contractual facts and false

                 statements with inducement to be acted upon.

              95. The Plaintiff and the Class relied upon and acted upon State Farm’s fraudulent

                 misrepresentations of material facts.

              96. The Plaintiff and the Class has suffered and will continue to suffer damages as
                                                                                                           AMC : 000020 of 000034




                 a result of State Farm’s fraudulent misrepresentations.




                                                     20
Filed               19-CI-003158   06/16/2019             David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 53 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 58
                                                                                       Clerk DOCUMENT
                                                                                  06/26/2019 11:24:33 AM
                                                                                  65730-14

                                                COUNT VI
                                            FRAUD BY OMISSION

              97. Plaintiff, individually and on behalf of all others similarly situated, repeats,

                 realleges, and incorporates by reference each of the foregoing allegations of

                 this Complaint as if fully set forth herein.


              98. State Farm omitted material facts as to the existence of available contractual

                 coverages to the Plaintiff and the Class.

              99. State Farm had a duty to disclose to the Plaintiff and the Class the fact that there

                 was additional UM and/or UIM coverage available to them for their injuries.

              100.   State Farm failed to disclose these facts.

              101.   State Farm omitted the existence of coverage with the inducement to be

                 acted and relied upon. The Plaintiff and the Class indeed acted and relied upon

                 the same as they did not proceed with pursuing claims for these UM or UIM

                 benefits for significant periods of time.

              102.   The Plaintiff and the Class suffered actual damages as a result of

                 Defendant’s fraudulent omissions.


                                             COUNT VII
                                         GROSS NEGLIGENCE

              103.   Plaintiff, individually and on behalf of all others similarly situated, repeats,

                 realleges, and incorporates by reference each of the foregoing allegations of

                 this Complaint as if fully set forth herein
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              104.   State Farm breached several duties of care owed to the Plaintiff and the

                 Class, with each serving as a direct and proximate cause of the damages to the

                 Plaintiff and the Class.

                                                     21
Filed                19-CI-003158   06/16/2019            David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 54 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 59
                                                                                       Clerk DOCUMENT
                                                                                  06/26/2019 11:24:33 AM
                                                                                  65730-14

              105.   State Farm’s conduct was willful, wanton, reckless and grossly negligent.


                                         COUNT VIII
                        VICARIOUS LIABILITY & RESPONDEAT SUPERIOR

              106.   Plaintiff, individually and on behalf of all others similarly situated, repeats,

                 realleges, and incorporates by reference each of the foregoing allegations of

                 this Complaint as if fully set forth herein

              107.   State Farm’s employees and agents engaged in the actions and omissions

                 described herein which give rise to liability.

              108.   The actions and omissions of State Farm’s employees and agents were:

                     a. Within the course and scope of their employment or agency relationship

                        with State Farm;

                     b. In furtherance of State Farm’s business or interests;

                     c. Calculated to advance the goals of State Farm;

                     d. Made as part of everyday acts commonly pursued by the employees and

                        agents in the regular routine of employment

              109.   The actions and omissions of State Farm’s employees and agents are

                 imputed to State Farm through respondeat superior.


                                              COUNT IX
                                          PUNITIVE DAMAGES

              110.   Plaintiff, individually and on behalf of all others similarly situated, repeats,

                 realleges, and incorporates by reference each of the foregoing allegations of
                                                                                                           AMC : 000022 of 000034




                 this Complaint as if fully set forth herein.




                                                     22
Filed                19-CI-003158   06/16/2019            David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 55 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 60
                                                                                       Clerk DOCUMENT
                                                                                06/26/2019 11:24:33 AM
                                                                                65730-14

              111.   The Plaintiff and the Class are entitled to punitive damages pursuant to

                 common law, KRS 304.12-230, KRS 367.220, KRS 411.184, and KRS 411.186,

                 and all other applicable governing authorities.

              112.   Punitive damages exist in Kentucky to punish and discourage certain types

                 of bad behavior. They are necessary in this case to punish State Farm,

                 discourage bad behavior, deter future wrongdoing, and demonstrate an

                 expression of moral condemnation.

              113.   State Farm acted with fraud, oppression and/or malice.

              114.   State Farm was grossly negligent.

              115.   State Farm’s conduct evinced an indifference to or a reckless disregard for

                 its own insureds.

              116.   The targets of State Farm’s conduct had financial vulnerability.

              117.   State Farm’s conduct involved repeated actions.

              118.   The harms caused by State Farm were the result of intentional malice,

                 trickery and deceit.

              119.   State Farm’s culpability is so reprehensible as to warrant the imposition of

                 further sanctions to achieve punishment or deterrence.

              120.   State Farm knew there was a substantial likelihood at the relevant times

                 that serious harm would arise from their non-disclosures of needed UM and

                 UIM coverages to insureds.

              121.   State Farm stood to profit immensely from their conduct. They didn’t disclose
                                                                                                         AMC : 000023 of 000034




                 millions of dollars of coverage which was owed and payable to their insureds.




                                                   23
Filed                19-CI-003158    06/16/2019         David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 56 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 61
                                                                                       Clerk DOCUMENT
                                                                                  06/26/2019 11:24:33 AM
                                                                                  65730-14

              122.   The duration of the misconduct by State Farm was substantial. While the

                 company letters demonstrate that the conduct took place for a minimum of five

                 years, it is possible that the conduct has been ongoing for decades.

              123.   State Farm concealed their actions in several ways, including but not limited

                 to sending letters identifying coverages for one policy versus all household first

                 part coverages on all policies.

              124.    State Farm further conceals its actions by not producing Kentucky UM and

                 UIM claims payouts within its public regulatory filings.

              125.   State Farm’s remedial efforts are disingenuous; those which the company

                 has made have only been due to compelled audits.

              126.   The degree of reprehensibility of State Farm’s conduct was substantial.

              127.   The harms to State Farm’s own insureds as a result of State Farm’s conduct

                 were substantial, in many cases depriving the insureds of $100,000 or more in

                 insurance payouts in situations where the insureds were in dire need of the

                 benefits.

                                            COUNT X
                                      DECLARATION OF RIGHTS

              128.   Plaintiff, individually and on behalf of all others similarly situated, repeats,

                 realleges, and incorporates by reference each of the foregoing allegations of

                 this Complaint as if fully set forth herein.

              129.   Pursuant to KRS 418.040, an actual controversy exists regarding the right
                                                                                                           AMC : 000024 of 000034




                 and level interest owed by State Farm in relation to their overdue payments.




                                                     24
Filed                19-CI-003158   06/16/2019            David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 57 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 62
                                                                                       Clerk DOCUMENT
                                                                                 06/26/2019 11:24:33 AM
                                                                                 65730-14

              130.   Pursuant to KRS 418.045, the Plaintiff and the Class fall within the scope of

                 those who may seek a declaration of rights regarding contractual matters in

                 controversy.

              131.   The Plaintiff and the Class seek a Declaration from the Court that State

                 Farm, in failing to promptly identify, disclose and/or pay the UM and UIM

                 coverages owed, failed to comply with its contractual, statutory and common

                 law obligations of making timely payments to the Plaintiff and the Class of

                 amounts due under the policies.

              132.   The Plaintiff and the Class seek a Declaration from the Court that the Plaintiff

                 and the Class are entitled to prejudgment interest payments from State Farm on

                 the amounts already offered and/or paid by State Farm under these previously

                 undisclosed UM and/or UIM coverages and on amounts which are subsequently

                 offered and/or paid to the Plaintiff and the Class under previously undisclosed

                 UM and/or UIM coverages.

              133.   Plaintiff seeks a Declaration that prejudgment interest, at a minimum, shall

                 account for the following:

                     a. For UM and UIM claims where the underlying coverage limits were paid

                        and the previously undisclosed UM and UIM coverage has since been

                        paid:

                             i. Interest from the date of the underlying settlements through the

                                date State Farm made payment on the previously undisclosed
                                                                                                          AMC : 000025 of 000034




                                coverage;




                                                    25
Filed                19-CI-003158   06/16/2019           David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 58 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 63
                                                                                       Clerk DOCUMENT
                                                                                   06/26/2019 11:24:33 AM
                                                                                   65730-14

                      b. For UM and UIM claims where the underlying coverage limits were paid

                           and the previously undisclosed UM and UIM coverage has since been

                           disclosed but not paid:

                               i. Interest from the date of the underlying settlements through the

                                 date State Farm made an offer for the full coverage limits on the

                                 previously undisclosed coverage or an offer which represented a

                                 good faith offer of settlement

                      c. For UM claims where one or more of the tortfeasors were uninsured:

                               i. Interest from the date UM coverage was requested from State

                                 Farm through the date State Farm made an offer for the full

                                 coverage limits on the previously undisclosed coverage or an offer

                                 which represented a good faith offer of settlement


                                           PRAYER FOR RELIEF


        WHEREFORE, Plaintiff prays:

                      A.      That the Court determine that this action may be maintained as a

        class action under CR 23, that the Plaintiff is proper class representative, and her counsel

        is adequate class counsel;

                      B.      That the Court certify the Class identified above;

                      C.      That judgment be entered against State Farm and in favor of Plaintiff

        and the Class on the Causes of Action in this Complaint
                                                                                                            AMC : 000026 of 000034




                      D.      That declaratorv and other equitable relief be granted as requested

        above;

                      E.      That Plaintiff and the Class be awarded all actual, compensatory,

                                                     26
Filed                19-CI-003158    06/16/2019           David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 59 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 64
                                                                                       Clerk DOCUMENT
                                                                                   06/26/2019 11:24:33 AM
                                                                                   65730-14

        punitive and other damages to which they are entitled in an amount to be determined at

        trial;

                       F.     That judgment be entered imposing prejudgment interest, post-

        judgment interest, litigation costs, and attorneys’ fees against State Farm;

                       G.     That the Court immediately enter an Order (1) enjoining State Farm

        from engaging in the activity described above, (2) requiring State Farm to immediately

        review all claims to determine the members of the Class in the manner identified above

        (3) enjoin State Farm from asserting the statute of limitations of a prospective Class

        member for any UM and/or UIM claim during the pendency of this action and until such

        time as the true extent of State Farm’s actions can be discovered and analyzed.

                       H.     For all other and further relief as this Court may deem necessary and

        appropriate.

                                         DEMAND FOR JURY TRIAL

                       Plaintiff, individually and on behalf of all others similarly situated, demands

        a trial by jury on all issues so triable.

                                                    Respectfully submitted,


                                                    SAM AGUIAR INJURY LAWYERS, PLLC


                                                    /s/ Sam Aguiar
                                                    Sam Aguiar
                                                    Jeffrey Freeman
                                                    1201 Story Avenue, Suite 301
                                                    Louisville, Kentucky 40206
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                                                    Telephone: (502) 400-6969
                                                    Facsimile: (502) 491-3946
                                                    sam@kylawoffice.com
                                                    jfreeman@kylawoffice.com

                                                    Counsel for Plaintiff

                                                      27
Filed                  19-CI-003158   06/16/2019           David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
                    19-CI-003158 06/16/2019          06/27/19
                                                   David         PageJefferson
                                                         L. Nicholson, 60 NOT
                                                                          of 66Circuit
                                                                                PageID
                                                                               ORIGINAL   #: 65
                                                                                       Clerk DOCUMENT
                                                                             06/26/2019 11:24:33 AM
                                                                             65730-14




                                                                                                        AMC : 000028 of 000034




                                                28
Filed               19-CI-003158   06/16/2019        David L. Nicholson, Jefferson Circuit Clerk
Filed Case     3:19-cv-00466-CRS
                       19-CI-003158 Document
                                    06/16/2019 1-1 FiledDavid
                                                         06/27/19    Page Jefferson
                                                              L. Nicholson, 61 of
                                                                               NOT66 PageID
                                                                                     ORIGINAL
                                                                                     Circuit  #: 66
                                                                                             Clerk DOCUMENT
                                                                                           06/26/2019 11:24:33 AM
                                                     EXHIBIT A                             65730-14

        Providing Insurance and Financial Services
        Home Office, Bloomington, IL                                                     A State Farm~

    August 01 , 2016


        O'koon Hintermeister, PLLC                               State Farm Claims
        500 West Jefferson Street                                PO Box 106171
        11 00 Pnc Plaza                                          Atlanta GA 30348-6171
        Louisville KY 40202




    RE:        Claim Number:                    17-524K-369
               Date of Loss:                    September 12, 2014
               Our Insured:                     Linda Davis
               Your Client(s):                  Linda Davis


    Dear Mr. Jeffrey L. Freeman:

    As we discussed, State Farm has extended an offer of $100,000 for the settlement of Ms. Davis'
    injury claim. The offer represents the limits of her Underinsured Motorist Coverage.

    Please advise if there are any government liens that need to be protected for her settlement.
    Once we verify whether there are any applicable liens, we will issue the settlement draft(s)
    accordingly.

    I look forward to hearing from you in the near future .

    Sincerely,



    Eileen Aguilar
    Claim Specialist
    (480) 842-3928
    Fax: (855) 820-6318

    State Farm Mutual Automobile Insurance Company                                                                  AMC : 000029 of 000034




Filed                     19-CI-003158       06/16/2019         David L. Nicholson, Jefferson Circuit Clerk
Filed   Case 3:19-cv-00466-CRS   Document 1-1 Filed
                    19-CI-003158 06/16/2019         06/27/19
                                                  David         PageJefferson
                                                        L. Nicholson, 62 NOT
                                                                         of 66Circuit
                                                                              PageID
                                                                              ORIGINAL  #: 67
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        Providing Insurance and Financial Services
        Home Office, Bloomington, IL                                                            _ State Farm ·


        July 20, 2015

        O'koon Hintermeister, Pile                                  Centralized Medical Unit
        500 West Jefferson Street                                   P.O. Box 661031
        11 00 Pnc Plaza                                             Dallas TX 75266-1031
        Louisville KY 40202




        RE:      Claim Number:              17-524K-369
                 Date of Loss:              September 12, 2014
                 Our Insured:               Michael D Davis
                 Your Client:               Linda Davis


        To Whom It May Concern:

        Enclosed is a Confirmation of Coverage for the policy that was in force on behalf of Michael D
        Davis.

        If you have any questions, please contact us.

        Sincerely,


    ~~  LaTonya Wynne
        Claim Representative
        (877) 236-5890 Ext. 6156923794

        State Farm Mutual Automobile Insurance Company

        Enclosure(s): Cqnfirmation of Coverage

                                                                                                                        AMC : 000030 of 000034




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Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
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        ~;State Farmb                                              Confirmation of Coverage

                                                                                                                    17-524K-369
                                                                                                                      Claim Number
    This policy is issued by:

    IZl         State   Farm    Mutual Automobile Insurance Company
    D           State   Farm    County Mutual Insurance Company of Texas
    D           State   Farm    Fire and Casualty Company
    D           State   Farm    Lloyds
    D           State   Farm    Indemnity Company
    D           State   Farm    Guaranty Insurance Company
    D           State   Farm    Florida Insurance Company
    D           (Write in the name of the appropriate State Farm® affiliate)



    This confirms that policy number 676958417G, covering a(n) 1998 Cadillac DEVILLE,
    1G6KE54Y9WU766353, was issued to Linda Davis and Michael D Davis and was in effect on the
    accident date of September 12, 2014. The coverages and limits of liability for this policy on that date
    were:

    A 250/500/100,D100,G250,H,U 100/300,W 100/300,P304




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Filed   Case 3:19-cv-00466-CRS    Document 1-1 Filed
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                                               Exhibit B                                  65730-14




        May 24, 2019


         Aguiar Injury Lawyers                                    State Farm Claims
         1201 Story Ave Ste 301                                   PO Box 106171
         Louisville KY 40206-1762                                 Atlanta GA 30348-6171




        RE:    Claim Number:       17-524K-369
               Date of Loss:       September 12, 2014
               Our Insured:        Michael D Davis
               Your Client:        Linda Davis

        Dear Jeffrey Freeman:

        This letter will acknowledge your representation of Linda Davis.

        I have located another policy in the household for additional Uninsured/Underinsured Motorist
        coverage. A claim is being established and all household policies are being re-requested
        including the Personal Injury Liability Policy. I will be in contact with you shortly to resolve the
        claim promptly.

        We look forward to working with you on the resolution of this claim. If you have any questions,
        please contact us.

        Sincerely,



        Desna Venise Hall
        Claim Specialist
        (480) 842-3937

        State Farm Mutual Automobile Insurance Company
                                                                                                                   AMC : 000032 of 000034




     DUE TO PROTECTION OF PRIVACY OBLIGATIONS AND INTERNAL SYSTEM INTEGRITY, STATE FARM MUTUAL
     AUTOMOBILE INSURANCE COMPANY DOES NOT ACCEPT TIME-SENSITIVE OR ACTION-ORIENTED MESSAGES DELIVERED
FiledVIA EMAIL THAT INVOLVE ACCESSING A CYBERLINK, APPLICATION, DIGITAL DROPBOX OR OTHER THIRD-PARTY
                     19-CI-003158 06/16/2019
     DOCUMENT SERVICE.
                                                         David L. Nicholson, Jefferson Circuit Clerk
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          Provid;n g Insurance and Financial Services
          Home Office, Bloomington, IL                                                        A State Farm®


         May 10, 2019



          Bryant Law Center                                           State Farm Claims
          PO Box 1876                                                 PO Box 106171
          Paducah KY 42002-1876                                       Atlanta GA 30348-6171




        RE:     Claim Number:                      17-8M15-328
                 Date of Loss:                     April 28, 2016
                Our Insured:                       Thomas R Davis
                 Policy Number:                    165401317A
                Your Client(s):                     The Estate of Thomas R Davis



        Dear Counsel:


        We have recently undertaken a review of the above-referenced cl;;iim that was submitted for
        Underinsured Motorist benefits. As a result of that review, we have identified coverage that may
        be available to The Estate of Thomas R Davis for this claim under one or more additional
        policies of insurance with State Farm. Consequently, we have reopened the claim in order to
        determine whether The Estate of Thomas R Davis is in fact eligible for additional coverage, and
        if so to give The Estate of Thomas R Davis the opportunity, if The Estate of Thomas R Davis
        sustained damages in excess of the amounts State Farm previously paid to The Estate of
        Thomas R Davis for this claim, to submit that additional inf o rmation to State Farm for further
        consideration.


        Please contact Daniel Nash to review this claim.


        Sincerely,




        Daniel Nash
        Claim Specialist
                                                                                                                       AMC : 000034 of 000034




        (480) 842-3921
        Fax: (855) 820-6318


        State Farm Mutual Automobile Insurance Company




Filed                    19-CI-003158        06/16/2019             David L. Nicholson, Jefferson Circuit Clerk
